Case
Case 3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document 589-3
                                305-2 Filed
                                      Filed 06/12/17
                                            04/28/17 Page
                                                     Page 1
                                                          1 of
                                                            of 2
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                 EXHIBIT 2
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                Case 3:17-cv-00939-WHA
                     3:17-cv-00939-WHA Document
                                       Document 589-3
                                                305-2 Filed
                                                      Filed 06/12/17
                                                            04/28/17 Page
                                                                     Page 2
                                                                          2 of
                                                                            of 2
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Rivera, Sylvia

From:                              Rivera, Sylvia
Sent:                              Thursday, April 27, 2017 1:31 PM
To:                                'qewaymo@quinnemanuel.com'
Cc:                                UberWaymo; ''BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
                                   (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)'
Subject:                           Waymo v. Uber; privilege logs


Quinn Team,

Today we forwarded unredacted, amended versions of Defendants’ initial, supplemental, and second supplemental
privilege logs associated with the March 31, 2017 production. We revised those logs consistent with Arturo Gonzalez’s
email of April 25, 2017. Among other things, we revised the log of documents at Uber (second supplemental log) to now
list the individual custodians for each document and to list the author for email attachments; revised the “subject matter of
communication” to more specifically address the “anticipated litigation”; revised certain entries to address your objection
to use of the disjunctive “and/or”; removed from the log certain documents that were non-responsive; and attempted to
place the Morrison & Foerster LLP and O’Melveny & Myers log entries in chronological order.

As noted in Mr. Gonzalez’s April 25 email, for each email log entry that constitutes one email in an email string, we will
review the email strings and note the names of any additional senders/recipients who are not already listed in the log
entry. Given the volume of log entries, that potentially could take up to two weeks to complete for all logs. We will
endeavor to provide you with the updated logs on a rolling basis. Of course, based on our review, most of the earlier
emails in any email string already appear on the logs as stand-alone log entries, so you already have most of that
information in the existing logs.

Last, we are attempting to address your concerns as they would apply to the supplemental log of Morrison & Foerster
documents that run through the date of the filing of the complaint in this action and the stand-alone log of the investigative
report. We expect to produce those tomorrow.

Regards,
Sylvia




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